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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
       VLADIMIR GUSINSKY LIVING                    Case No. 2:14-01420-JAK (SSx)
  11   TRUST,
                                                   [CONSOLIDATED]
  12                Plaintiff,
  13         v.                                    PLAINTIFF’S NOTICE OF
                                                   LODGING OF PROPOSED ORDER
  14                                               RE: REQUEST FOR STATUS
       STEPHEN BERMAN, an individual;              CONFERENCE
  15   MICHAEL G. MILLER, an individual;
       MURRAY L. SKALA, an individual;
  16   ROBERT E. GLICK, an individual;
       MARVIN ELLIN, an individual; and
  17   DAN ALMAGOR, an individual;
  18                Defendants.
  19   JAKKS PACIFIC, INC.,
  20
                    Nominal Defendant.
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        PLAINTIFF’S NOTICE OF LODGING OF PROPOSED ORDER RE: REQUEST FOR STATUS
                                      CONFERENCE
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   1         Plaintiff hereby gives notice of lodging of a Proposed Order granting his
   2   Request for a Status Conference. The Proposed Order granting Plaintiff’s pending
   3   motions for final approval of the derivative settlement (the “Approval Motion”) and
   4   for an award of attorney’s fees and expenses (the “Fee Motion”)—which are the
   5   subject of Plaintiff’s Request for Status Conference—was previously filed at Docket
   6   No. 121-1.
   7
       DATED: October 4, 2016                     RESPECTFULLY SUMBITTED,
   8
                                                  LAW OFFICES OF DAVID N. LAKE
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  10
                                                  By: /s/
  11                                                 DAVID N. LAKE
                                                     Liaison Counsel for Plaintiffs
  12

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                       PLAINTIFF’S REQUEST FOR STATUS CONFERENCE
